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IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIAL CIRCUIT

LAKE COUNTY, ILLINOIS
SARINA ERVIN, iE \ L E D

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Plaintiff,
aintitt,
yaw 11 2024
vs. ) Case No. 04 D 1943
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RAYMOND ERVIN, San i
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Defendant. )

ORDER

This matter coming on to be heard upon return of the citations to discover assets served upon
Gwendolyn Barlow and the Social Security Administration, counsel for Sarina appearing on her behalf,
Gwendolyn Barlow appearing on her own behalf and on behalf of Raymond Ervin and the Court being fully
advised;

IT IS HEREBY ORDERED:
in C-306

1. This matter is continued to February 16, 2021 at 10:00 a.m. for hearing on Sarina’s
citation to discover assets served upon the Social Security Administration. Raymond
Ervin is granted 21 days within which to file a response to Sarina’s Memorandum of Law
in Support of Request for Turnover Order from Social Security Administration (filed on
October 9, 2019) and he shall provide a courtesy copy of his response to Sarina’s
Memorandum to this Court no later than February 5, 2021.

2 Based upon Ms. Barlow’s oral request to continue her citation examination, the citation
examination of Gwendolyn Barlow shall take place via Zoom on February 12, 2021 at
2:00 p.m. with a certified court reporter to be provided by Sarina’s counsel. Sarina’s
counsel shall provide the Zoom ID and password to Ms. Barlow no less than 48 hours
prior to the scheduled citation examination.

at 5 pm

3. On, or before February 5, 2021, Gwendolyn Barlow shall comply with the rider to the
citation to discover assets served upon her as well as all prior orders regarding her
document production including, without limitation, the orders entered on February 6,
2019 and April 2, 2019. Ms. Barlow’s production shall further include supplements to her
prior production to include documents responsive to the rider that were generated between
the date of her last production (April, 2019) and February of 2021.

ERED: |
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a " No.

Judge

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BEERMANN LLP

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